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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )             8:05CR145
                       Plaintiff,                    )
                                                     )
         vs.                                         )              ORDER
                                                     )
JUAN RANGEL SORIA,                                   )
                                                     )
                       Defendant.                    )


         This matter is before the court on the motion of Michael L. Smart to withdraw as CJA
court-appointed counsel for the defendant, Juan Rangel Soria (Soria) (Filing No. 97). Since
retained counsel, Susan M. Bazis, has entered an appearance for Soria (Filing No. 96), Mr.
Smart’s motion to withdraw (Filing No. 97) is granted. Withdrawing counsel shall submit his
CJA 20 voucher to the Office of the Federal Public Defender within forty-five (45) days of this
order.
         The clerk shall provide a copy of this order to the Office of the Federal Public Defender.
         Mr. Smart shall forthwith provide Ms. Bazis with the discovery materials provided the
defendant by the government and such other materials obtained by Mr. Smart which are
material to Soria’s defense.
         IT IS SO ORDERED.
         DATED this 2nd day of December, 2005.
                                                     BY THE COURT:
                                                     s/Thomas D. Thalken
                                                     United States Magistrate Judge
